                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
MPR:BR                                             271 Cadman Plaza East
F. #2009R01065                                     Brooklyn, New York 11201


                                                   April 5, 2019

TO BE FILED UNDER SEAL

By ECF

The Honorable Brian M. Cogan
United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:    United States v. Joaquin Archivaldo Guzman Loera
                     Criminal Docket No. 09-466 (S-4) (BMC)

Dear Judge Cogan:

                Pursuant to the Court’s March 20, 2019 order, the parties respectfully submit
this joint letter regarding the defendant’s proposal for unsealing docket entries.1 This letter
follows two government filings unsealing various docket entries that had previously been
under seal or partially redacted. See Dkt. Nos. 569, 587. The parties have reached agreement
regarding all outstanding documents under seal.

              Joint Summary

               The parties agree that the following docket entries can be unsealed and made
available on the public docket: 410, 427, 445, 467, 468, 475, 476, 478, 479, 488 (letter only,
not attachments 488-1 to 488-5), 508, and 531 (letter only, not attachment marked 531-1).

              The parties agree that the following documents can be unsealed with limited
redactions: 420, 477, 484, and 528. Redacted versions of these documents are attached hereto.




       1
        The parties are inadvertently filing this letter following the Court’s April 3, 2019
deadline.
principle that documents submitted to a court in camera . . . are to be deemed judicial records
open to the public.”).


                                                   Respectfully submitted,

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 William Purpura, Esq.                             Eastern District of New York
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                                                   ARTHUR G. WYATT, CHIEF
                                                   Narcotic and Dangerous Drug Section
                                                   Criminal Division,
                                                   U.S. Department of Justice

                                                   OF COUNSEL:
                                                   BENJAMIN J. GREENBERG
                                                   UNITED STATES ATTORNEY
                                                   Southern District of Florida

cc:    Clerk of the Court (BMC) (by ECF)




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